      Case 2:13-cr-00024-TOR    ECF No. 377    filed 05/27/14   PageID.2869 Page 1 of 1




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 5                        UNITED STATES DISTRICT COURT
 6                      FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                     2:13-CR-024-FVS-1

 9                     Plaintiff,
10                                               ORDER DENYING
     vs.                                         MOTION TO TRAVEL
11
12 RHONDA LEE FIRESTACK-
   HARVEY,
13
14                     Defendant.
15         Before the Court is Defendant’s Motion to Travel, at the request of the U.S.
16   Probation Officer. Defendant has not stated the United States’ position on the
17   proposed travel. In addition, good cause has not been shown as to why the
18   Defendant needs to travel. Accordingly, Defendant’s Motion, ECF No. 374, is
19   DENIED.
20         IT IS SO ORDERED.
21         DATED May 27, 2014.
22
                                    _____________________________________
23
                                              JOHN T. RODGERS
24                                   UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING MOTION TO TRAVEL - 1
